                                                                                     U.S. DISTRICT COUl\1
     Case 3:13-cr-00255-K       Document 268         Filed 06/06/14    Page 1 of 1 PageID 511
                                                                              NORTHERN DISTRiCT OF TEXAS
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                                 UNITED STATES DISTRICT COURT                           ~       6 2014
                                  NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION DIVISION
                                                                                 CLERK, U.S~&I-ICT COURT
                                                                                   By    'fl,::t;._
UNITED STATES OF AMERICA,                        §                         ....__ _ _ _ _Deputy
                                                                                            _______ !
               Plaintiff,                        §
                                                 §     3:13-CR-00255-P
v.                                               §
                                                 §
ALAN VILLEGAS (10),                              §
                                                 §
                        Defendant.               §


                    ORDER ACCEPTING REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE
                             CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent ofthe defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge, and no objections thereto having been filed within fourteen

days of service in accordance with 28 U.S.C. § 636(b)(l), the undersigned District Judge is ofthe

opinion that the Report and Recommendation ofthe Magistrate Judge concerning the Plea of Guilty is

correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty. Sentence will be imposed in accordance with the Court's

scheduling order.

         SO ORDERED.

         Signed this 6th day of June, 2014.



                                                          RA SOLIS
                                                        UNITED STATES DISTRICT JUDGE
